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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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      MARC HAGAN, derivatively on            Case No. 2:14-cv-02910 MWF (VBKx)
   12 behalf of OSI SYSTEMS, INC.,
                                             ORDER STAYING PROCEEDINGS
   13                Plaintiff,
   14        v.
   15 DEEPAK CHOPRA, WILLIAM F.
      BALLHAUS, JR., DAVID
   16 FEINBERG, STEVEN C. GOOD,
      MEYER LUSKIN, and AJAY
   17 MEHRA,
   18                Defendants,
   19                 - and -
   20 OSI SYSTEMS, INC., a Delaware
      corporation,
   21
                Nominal Defendant.
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                                                           ORDER STAYING PROCEEDINGS
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    1                                        ORDER
    2        Pursuant to the stipulation dated May 22, 2014 (the “Stipulation”) entered
    3 into between Plaintiff Marc Hagan and, Defendants Deepak Chopra, William F.
    4 Ballhaus, Jr., David Feinberg, Steven C. Good, Meyer Luskin, and Ajay Mehra
    5 (collectively, the “Individual Defendants”), and Nominal Defendant OSI Systems,
    6 Inc. (“OSI”) (OSI and the Individual Defendants are hereinafter collectively
    7 referred to as “Defendants”), and for good cause shown:
    8        IT IS HEREBY ORDERED that the Stipulation be GRANTED in part. It is
    9 FURTHER ORDERED THAT:
   10        1.     All proceedings, discovery, and deadlines in the above-captioned
   11               shareholder derivative action (the “Hagan Derivative Action”)
   12               (including deadlines for Defendants to respond to the Complaint) shall
   13               be stayed pending the Court’s entry of a ruling on the initial motion(s)
   14               to dismiss the Securities Class Action.
   15        2.     Counsel for the parties shall meet and confer concerning further
   16               proceedings in the Hagan Derivative Action within ten (10) days of
   17               the Court’s ruling on the first or initial motions(s) to dismiss the
   18               Securities Class Action to discuss proposed next steps for this action.
   19        3.     This stay is without prejudice to the right of any party either to move
   20               to lift the stay or to seek a further stay of the Hagan Derivative
   21               Action, or for any other relief as may be appropriate.
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    1        4.    The request to appoint lead counsel and prospectively consolidate
    2              future related actions is DENIED without prejudice to the right of
    3              any party to move for appointment of lead counsel or consolidation of
    4              later-filed related actions.
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    6 IT IS SO ORDERED.
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    8 Dated: May 29, 2014                         __________________________________
                                                  Michael W. Fitzgerald
    9                                             UNITED STATES DISTRICT JUDGE
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